 1                                                                  Honorable Frederick P. Corbit

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11                            UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF WASHINGTON
12
      In re                                            CASE NO. 24-01421-FPC11
13
                                                       NOTICE OF HEARING ON DEBTOR’S
14    IDEAL PROPERTY INVESTMENTS LLC.                  THIRD INTERIM ORDER
                                                       AUTHORIZING USE OF CASH
15                                                     COLLATERAL AND GRANTING
                        Debtor.                        ADEQUATE PROTECTION
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18            TO:    CLERK OF THE COURT, U.S. TRUSTEE, and all Parties-in-Interest

19            HEARING DATE: November 12, 2024

20            HEARING TIME: 10:30 AM (PST)
21
              LOCATION: Via ZoomGov at: https://www.zoomgov.com/j/1606922376
22
              Meeting ID: 160 692 2376 or Dial-in: (669) 254-5252
23
              SUPPLEMENTAL FILING BY DEBTOR DUE: November 4, 2024
24
              RESPONSE DATE: November 7, 2024
25

26            REPLY DATE: November 8, 2024


      NOTICE OF HEARING ON DEBTOR’S THIRD INTERIM ORDER
      AUTHORIZING USE OF CASH COLLATERAL AND GRANTING
      ADEQUATE PROTECTION - 3


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 1          PLEASE TAKE NOTICE that Ideal Property Investments, LLC (the “Debtor”), debtor-
 2   in-possession in the above-captioned chapter 11 bankruptcy case, has set a hearing on the
 3
     following:
 4
            1. Debtor’s Third Interim Order Authorizing Use of Cash Collateral and Granting
 5
                  Adequate Protection.
 6

 7             The Motion, together with the supporting Declarations, are on file with the above-

 8   captioned court.

 9             The deadline for Debtor to file any supplement pleadings regarding use of cash
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     collateral and granting of adequate protection is November 4, 2024. IF YOU OPPOSE the relief
11
     requested in the above-referenced Motion, you must file your written response with the Court
12
     Clerk and deliver copies to the undersigned counsel NO LATER THAN November 7, 2024, at
13
     12:00 PM (PST). If you do not timely file a response or objection, the court may enter final
14

15   orders approving the relief requested in the Motions without further notice. The reply is due

16   November 8, 2024, by 12:00 PM (PST).
17          Any party seeking complete copies of the pleadings may contact DBS Law at
18
     assistant@lawdbs.com or in writing to the address indicated in the lower right-hand corner of
19
     this pleading.
20
            DATED this 11th day October 2024.
21

22                                                 DBS LAW

23                                                 By: /s/ Daniel J. Bugbee
                                                       Daniel J. Bugbee, WSBA # 42412
24                                                     Laurie Thornton, WSBA # 35030
                                                       Dominique Scalia, WSBA # 47313
25                                                     Attorneys for Debtor
26


      NOTICE OF HEARING ON DEBTOR’S THIRD INTERIM ORDER
      AUTHORIZING USE OF CASH COLLATERAL AND GRANTING
      ADEQUATE PROTECTION - 3


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 1                                  CERTIFICATE OF SERVICE
 2
            I hereby certify on the date set forth below, I caused to be electronically filed the above
 3
     referenced Notice of Hearing with the Clerk of the Court using the CM/ECF system which
 4
     causes parties who are registered ECF participants to be served by electronic means.
 5
            Dated this 11th day of October 2024 at Seattle, Washington.
 6

 7
                                                          By /s/ Daniel J. Bugbee
 8                                                        Daniel J. Bugbee, WSBA # 42412
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      NOTICE OF HEARING ON DEBTOR’S THIRD INTERIM ORDER
      AUTHORIZING USE OF CASH COLLATERAL AND GRANTING
      ADEQUATE PROTECTION - 3


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